Case 8:20-cr-00120-WFJ-JSS Document 4 Filed 03/12/20 Page 1 of 3 PagelD 34

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA |
V. CASE NO. 6: 20-cr- \20~T- 62,ySS
STEVEN CHUN and
DANIEL TONDRE
MOTION TO SEAL INDICTMENT
AND RELATED DOCUMENTS
Pursuant to Fed. R. Crim. P. 6(e)(4), and in the interests of law
enforcement, the United States of America by Maria Chapa Lopez, United
States Attorney for the Middle District of Florida, hereby moves the Court to
direct the Clerk to seal the Indictment, the file copy of the warrant(s),
defendant information sheet(s), this motion, the Court's order regarding this
motion and any other documents filed in this case that would identify the
defendant(s). Disclosure of the existence of these documents prior to the
arrest of a defendant could hinder or impede arrest efforts.
The United States further moves that the Court direct the Clerk to seal

the Indictment in this case except when necessary to provide certified copies of

the Indictment to the United States Attorney's Office.
Case 8:20-cr-00120-WFJ-JSS Document 4 Filed 03/12/20 Page 2 of 3 PagelD 35

The United States further requests that the Court's Order allow the
United States Marshals Service to release certified copies of the arrest warrant
to the case agent or other appropriate law enforcement and/or to the United
States Attorney's Office, upon verbal request of the United States Attorney's
Office to the United States Marshals Service, without further order of the
Court.

The United States further requests that the Court’s Order allow the
United States Marshals Service or other appropriate law enforcement agency
to enter the arrest warrant into the National Crime Information Center
(NCIC) database or other appropriate law enforcement database, without
further order of the Court.

The United States further requests that the Court's Order allow the
United States to disclose the existence of the Indictment in any subsequent
search and/or seizure warrants which may be executed in conjunction with

the arrest of the defendant(s).
Case 8:20-cr-00120-WFJ-JSS Document 4 Filed 03/12/20 Page 3 of 3 PagelD 36

The United States further moves that the Court direct the Clerk to

unseal the documents described herein without further order when any named

defendant is taken into custody.

Respectfully submitted,

MARIA CHAPA LOPEZ
Unite

 

400 North Tampa Street, Suite 3200
Tampa, Florida 33602

Telephone: (813) 274-6000
Facsimile: (813) 274-6103

E-mail: kelley. howard@usdoj.gov
